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EXHIBIT 41
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Iranian Intelligence Officials Indicted on
Kidnapping Conspiracy Charges
Iranian Intelligence Services Allegedly Plotted to Kidnap a U.S.
Journalist and Human Rights Activist from New York City for
Rendition to Iran
A New York federal court unsealed an indictment today charging four Iranian nationals
with conspiracies related to kidnapping, sanctions violations, bank and wire fraud, and
money laundering. A co-conspirator and California resident, also of Iran, faces additional
structuring charges.

According to court documents, Alireza Shavaroghi Farahani, aka Vezerat Salimi and Haj Ali,
50; Mahmoud Khazein, 42; Kiya Sadeghi, 35; and Omid Noori, 45, all of Iran, conspired to
kidnap a Brooklyn journalist, author and human rights activist for mobilizing public
opinion in Iran and around the world to bring about changes to the regime’s laws and
practices. Niloufar Bahadorifar, aka Nellie Bahadorifar, 46, originally of Iran and currently
residing in California, is alleged to have provided financial services that supported the plot.

“Every person in the United States must be free from harassment, threats and physical
harm by foreign powers,” said Acting Assistant Attorney General Mark J. Lesko for the
Justice Department’s National Security Division. “Through this indictment, we bring to light
one such pernicious plot to harm an American citizen who was exercising their First
Amendment rights, and we commit ourselves to bring the defendants to justice.”

“As alleged, four of the defendants monitored and planned to kidnap a U.S. citizen of
Iranian origin who has been critical of the regime’s autocracy, and to forcibly take their
intended victim to Iran, where the victim’s fate would have been uncertain at best,” said
U.S. Attorney Audrey Strauss for the Southern District of New York. “Among this country’s
most cherished freedoms is the right to speak one’s mind without fear of government
reprisal. A U.S. citizen living in the United States must be able to advocate for human rights
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without being targeted by foreign intelligence operatives. Thanks to the FBI’s exposure of
their alleged scheme, these defendants have failed to silence criticism by forcible
abduction.”

“As alleged in this indictment, the government of Iran directed a number of state actors to
plot to kidnap a U.S.-based journalist and American citizen, and to conduct surveillance on
U.S. soil - all with the intention to lure our citizen back to Iran as retaliation for their
freedom of expression,” said Assistant Director Alan E. Kohler Jr. of the FBI’s
Counterintelligence Division. “We will use all the tools at our disposal to aggressively
investigate foreign activities by operatives who conspire to kidnap a U.S. citizen just
because the government of Iran didn’t approve of the victim’s criticism of the regime.”

According to the indictment, Farahani is an Iranian intelligence official who resides in Iran.
Khazein, Sadeghi and Noori are Iranian intelligence assets who also reside in Iran and work
under Farahani. Since at least June 2020, Farahani and his intelligence network have
plotted to kidnap a U.S. citizen of Iranian origin (Victim-1) from within the United States in
furtherance of the government of Iran’s efforts to silence Victim-1’s criticisms of the
regime. Victim-1 is an author and journalist who has publicized the government of Iran’s
human rights abuses.

Prior to the kidnapping plot, the government of Iran attempted to lure Victim-1 to a third
country in order to capture Victim-1 for rendition to Iran. In approximately 2018, Iranian
government officials attempted to induce relatives of Victim-1, who reside in Iran, to invite
the victim to travel to a third country for the apparent purpose of having Victim-1 arrested
or detained and transported to Iran for imprisonment. Victim-1’s relatives did not accept
the offer. An electronic device used by Farahani contains, among other things, a photo of
Victim-1 alongside photos of two other individuals, both of whom were lured from third
countries and captured by Iranian intelligence, with one later executed and the other
imprisoned in Iran, and a caption in Farsi that reads: “gradually the gathering gets bigger...
are you coming, or should we come for you?”

On multiple occasions in 2020 and 2021, as part of the plot to kidnap Victim-1, Farahani
and his network procured the services of private investigators to surveil, photograph and
video record Victim-1 and Victim-1’s household members in Brooklyn. Farahani’s network
procured days’ worth of surveillance at Victim-1’s home and the surrounding area, videos
and photographs of the victim’s family and associates, surveillance of the victim’s
residence, and the installation of and access to a live high-definition video feed of Victim-1’s
home. The network repeatedly insisted on high-quality photographs and video recordings
of Victim-1 and Victim-1’s household members; a large volume of content; pictures of
visitors and objects around the house; and depictions of Victim-1’s body language. The
network procured the surveillance by misrepresenting their identities and the purpose of
the surveillance to the investigators, and laundered money into the United States from Iran
to pay for the surveillance. Sadeghi acted as the network’s primary point of contact with
private investigators while Noori facilitated payment to the investigators in furtherance of
the plot.
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As part of the kidnapping plot, the Farahani-led intelligence network also researched
methods of transporting Victim-1 out of the United States for rendition to Iran. Sadeghi, for
example, researched a service offering military-style speedboats for self-operated maritime
evacuation out of New York City, and maritime travel from New York to Venezuela, a
country whose de facto government has friendly relations with Iran. Khazein researched
travel routes from Victim-1’s residence to a waterfront neighborhood in Brooklyn; the
location of Victim-1’s residence relative to Venezuela; and the location of Victim-1’s
residence relative to Tehran.

The network that Farahani directs has also targeted victims in other countries, including
victims in Canada, the United Kingdom and the United Arab Emirates, and has worked to
procure similar surveillance of those victims.

As alleged, Bahadorifar provided financial and other services from the United States to
Iranian residents and entities, including to Khazein, since approximately 2015. Bahadorifar
facilitated access to the U.S. financial system and institutions through the use of card
accounts and offered to manage business interests in the United States on Khazein’s behalf.
Among other things, Bahadorifar caused a payment to be made to a private investigator for
surveillance of Victim-1 on Khazein’s behalf. While Bahadorifar is not charged with
participating in the kidnapping conspiracy, she is alleged to have provided financial
services that supported the plot and is charged with conspiring to violate sanctions against
Iran, commit bank and wire fraud, and commit money laundering. Bahadorifar is also
charged with structuring cash deposits totaling more than approximately $445,000.

Farahani, Khazein, Sadeghi and Noori are each charged with: (1) conspiring to kidnap,
which carries a maximum sentence of life in prison; (2) conspiring to violate the
International Emergency Economic Powers Act (IEEPA) and sanctions against the
government of Iran, which carries a maximum sentence of 20 years in prison; (3)
conspiring to commit bank and wire fraud, which carries a maximum sentence of 30 years
in prison; and (4) conspiring to launder money, which carries a maximum sentence of 20
years in prison. Bahadorifar is charged with counts two, three and four, and is further
charged with structuring, which carries a maximum sentence of 10 years in prison. A
federal district court judge will determine any sentence after considering the U.S.
Sentencing Guidelines and other statutory factors.

The FBI’s New York Field Office, Counterintelligence-Cyber Division and Iran Threat Task
Force are investigating the case.

Trial Attorney Nathan Swinton of the Justice Department’s Counterintelligence and Export
Control Section and Assistant U.S. Attorneys Michael D. Lockard, Jacob H. Gutwillig and
Matthew J.C. Hellman of the Southern District of New York are prosecuting the case.

An indictment is merely an allegation, and all defendants are presumed innocent until proven
guilty beyond a reasonable doubt in a court of law.
